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               Exhibit 1-00
     Evidence Packet in Support of Defendant’s Motions for Summary Judgment


      U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                  Evidence Packet P.0720
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